Case 2:12-Cv-02558-.]AR-D.]W Document 7 Filed 10/23/12 Page 1 of 1

UNI'I`ED STA'I`ES DISTRICT COURT
FOR 'I`HE DISTRIC'I` OF KANSAS

ROBERT CASEY,
Plaintiff,
vs.
COAST PROFESSIONAL, INC.,
Defenda.nt.

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Case No.: 2:12-cv~02558-JAR“DJW

NOTICE OF VOLUNTARY YISMISSAL

NOW COMES, the Plaintiff, R{)BERT CASEY, by the undersigned counsel, and

pursuant to FRCP 41(3)(1)(A) (Dismissa] of Actions m Voluntary Dismissal By Plaintiff Without

Court Order) voluntary dismisses, with prejudice, COAST PROFESSIONAL, INC. (Defendant),

in this case.

Both Sides to bear their own costs and expenses.

This 23"j day cf ecrober, 2012.

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BY:

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